Case: 4:24-cv-01441-SPM   Doc. #: 1-3   Filed: 10/25/24   Page: 1 of 2 PageID #: 45
Case: 4:24-cv-01441-SPM            Doc. #: 1-3        Filed: 10/25/24       Page: 2 of 2 PageID #: 46
MOED-0001              DISCLOSURE STATEMENT


          By signing this form, counsel acknowledges that “if any required information changes,” and/or
“if any later event occurs that could affect the court’s jurisdiction under 28 U.S.C. § 1332(a),” counsel
will file a Disclosure Statement promptly, and no later than seven (7) days of the change or event.
EDMO L.R. 2.09(C); see also Fed. R. Civ. P. 7.1(a)(2)(B) and 7.1(b)(2).




                                                         Signature (Counsel for Plaintiff/Defendant)
                                                         Print Name:      Elliot O. Jackson
                                                         Address: 1395 Brickell Ave. Ste. 610
                                                         City/State/Zip: Miami, Florida 33131
                                                         Phone:            305-357-2107




                                               Certificate of Service

       I hereby certify that a true copy of the foregoing Disclosure Statement was served (by mail,
by hand delivery, or by electronic notice) on all parties on:
October 25            , 20 24 .




                                                          Signature
